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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                        Case No. 2:12-CR-20285
v.
                                                        HON. GEORGE CARAM STEEH
ROMEO DRABO,

                Defendant.
___________________________/

                     ORDER DENYING WITHOUT PREJUDICE
                 DEFENDANT’S MOTION TO SUPPRESS EVIDENCE

       Defendant Romeo Drabo has been charged with possession of a controlled

substance with intent to distribute in violation of 21 U.S.C. § 841(a)(1) on one count as a

conspirator (pursuant to 21 U.S.C. § 846) and a second count under an aiding and

abetting theory (pursuant to 18 U.S.C. § 2(a)). Drabo seeks to suppress evidence of 35

pounds of marijuana, which officials obtained during a search of his vehicle after a traffic

stop. For the reasons that follow, the motion is DENIED without prejudice.

                                     BACKGROUND

       According to the government, U.S. Border Patrol (“USBP”) agents were informed

by a confidential source that he or she was participating in a drug trafficking

organization, whose members included Tom Nicaj and Paljoka Camaj. The source

stated that an unknown quantity of narcotics were to be delivered in Chicago on July 16,

2011, from Detroit. Based upon that information, a team of agents from USBP and U.S.

Drug Enforcement Agency (“DEA”), and Task-Force officers (“TFO”) from the Chicago


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Police Department engaged in surveillance of two vehicles traveling from Detroit to

Chicago; one occupied by the confidential source, and the other by Nicaj and Camaj.

The agents followed the group to a Walgreens in Chicago where defendant Drabo was

waiting in a blue Honda Pilot. The officers then watched Camaj exit his vehicle, remove

a large duffel bag from his car and hand it to Drabo, who put it in the “rear cargo area”

of the Pilot. Camaj took another bag from his vehicle and placed it in the cargo area of

the Pilot. Drabo re-entered the Pilot, and exited the parking lot, followed by the

surveillance team.

       Approximately twenty-seven minutes later, TFO Carlos Iglesias and DEA Special

Agent Dave Ostrow pulled over Drabo’s vehicle after, according to the government, he

engaged in an improper lane change. Drabo claims he did not make an improper lane

change. After approaching the vehicle, Iglesias requested Drabo’s identification and

insurance, to which Drabo provided identification, but not insurance. The government

claims that Drabo could not provide proof of insurance, but Drabo claims that he was

not given an opportunity to produce it.

       Iglesias and Ostrow asked Drabo to exit his car. While the government claims

that Drabo exited the car voluntarily, Drabo claims that the officers pulled him out of the

car, handcuffed him, and placed him in the back of their vehicle. The officers then

requested to search Drabo’s vehicle, to which Drabo refused. Without a warrant, the

officers searched Drabo’s vehicle, uncovering two bags of marijuana which contained a

total of 35 pounds. Drabo was subsequently charged with Conspiracy to Distribute

Marijuana, and Possession with Intent to Distribute.



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                                       ANALYSIS

       Drabo claims that the warrantless search of his vehicle was without probable

cause, thus violating his Fourth Amendment right against unreasonable search and

seizure. See U.S. Const. Amend IV. If evidence is uncovered as a result of a search

that violates a defendant’s Fourth Amendment rights, the defendant may move for

suppression of such evidence. Alderman v. United States, 394 U.S. 165 (1969). While

a warrant is normally required in order to search an individual’s property, the

“automobile exception” permits a warrantless vehicle search if there is probable cause

that a crime is being committed. See California v. Carney, 471 U.S. 386 (1985)

(affirming the automobile exception to the normal warrant requirement due to the

readily-mobile characteristic of automobiles). Since it is the government’s burden to

demonstrate the propriety of a warrantless search, Coolidge v. New Hampshire, 403

U.S. 443, 454 (1971), the government here must demonstrate probable cause in order

to overcome Drabo’s motion to suppress. Probable cause exists if “there are facts that .

. . could lead a reasonable person to believe that an illegal act has occurred or is about

to occur.” U.S. v. Strickland, 144 F.3d 412, 416 (6th Cir. 1998).

       The essential analysis this court must engage in is whether or not probable

cause existed for the officers to believe that Drabo had narcotics in his vehicle before

they pulled him over. Given the uncontested information officers acquired from the

confidential source and their observations that day, they reasonably believed the duffel

bags in the rear of Drabo’s car contained narcotics. Therefore, the court is satisfied at

this juncture that the search of Drabo’s vehicle was lawful. Additionally, since the court

has found that probable cause existed in order to search Drabo’s vehicle, the court finds

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it unnecessary to address the other issues raised in defendant’s motion.

       The parties to this motion apparently agreed to present argument to the court

today without the benefit of any live testimony. It appears that denial of the motion is

appropriate given defendant’s general concession concerning the information law

enforcement acquired from the informant and circumstances during the surveillance

leading to the delivery of the drugs as discussed on the record. Nevertheless,

defendant does not concede a total lack of disputed issues of fact. For this reason, the

court will hold an evidentiary hearing should defendant wish to renew the motion. Thus,

the court denies defendant’s motion without prejudice, and will schedule an evidentiary

hearing if requested.

                                        CONCLUSION

       For the reasons stated above and on the record, the government has

demonstrated that there was probable cause for the officers to believe that illegal

narcotics were inside of Drabo’s car when they stopped his vehicle. Defendant’s motion

to suppress evidence is therefore DENIED without prejudice.

       IT IS SO ORDERED.

Dated: July 9, 2013
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                         July 9, 2013, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk




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